Case 1:17-cv-00245-DLI-VMS   Document 16-9   Filed 09/28/17   Page 1 of 31 PageID
                                   #: 275




                             Exhibit “I”
Case 1:17-cv-00245-DLI-VMS           Document 16-9        Filed 09/28/17         Page 2 of 31 PageID
                                           #: 276




                            RESTAIED TRUST AGREEMENT OF THE
                               PLUMBERS LOCAL UNION NO. 1
                                   40Hkl SAVINGS FUND

          This 1RUST AGREEMENT is made and entered into effective the                 7th day of
 Cxfc}x:J?. , 2003 in the State of New York, by and between LOCAL UNION NO. l OF THE
   UNITED ASSOCIATION OF JOURNEYMEN AND APPRENTICES OF THE PLUMBING

   AND PIPE FITTING INDUS1RY OF THE UNITED STATES AND CANADA (hereinafter the

   "Union") and the ASSOCIATION OF CON1RACTING PLUMBERS OF THE CITY OF NEW

   YORK, INC. (hereinafter the "Association'').

          WHEREAS, the parties hereto believe that. it is in the· best interest of the Employees to

   provide retirement benefits and for that purpose to continue this Fund; and

          WHEREAS, Participating Employers who are parties to Collective Bargaining

   Agreements with the Union or who are parties to a participation agreeq1.ent with the Trustees of

   the Plumbers Local Union No. 1 40l(k) Savings Fund, agree to forward to the Fund the Deferred

   Salary Contributions which their eligible Employees have elected to make to the Fund as well as

  any Employer Contributions required to. be made to the Fund.
                                                                                                       I
                                                                                                       I
          NOW, THEREFORE, in consideration of the premises and mutual covenants and
                                                                                                       I
  agreements contained in this Trust Agreement, the parties hereto agree to and adopt all of the

  terms and provisions contained herein and the Trustees declare that they will receive, hold, use

  and apply the contributions and any other money or property which may come into their hands as

  Trustees for the exclusive benefit of the Employees and their Beneficiaries upon the terms,

  conditions and tlusts hereinafter stated.
Case 1:17-cv-00245-DLI-VMS             Document 16-9          Filed 09/28/17       Page 3 of 31 PageID
                                             #: 277




                                                ARTICLE I
                                               DEFINITIONS

           Unless the context or subject matter requires otherwise, the following definitions will
                                                                                                              I
   govern in this Trust Agreement.

           Section 1. Association. "Association" means the Association of Contracting Plumbers of

   the City ofNew York, Inc.

           Section 2. Beneficiary. ''Beneficiary" means a person designated by an Employee or by the

   terms of the Plan of Benefits created pursuant to this Trust Agreement, who is or may become

   entitled to a benefit from this Fund.

           Section 3. Code. "Code" means the Internal Revenue Code of 1986 (United States Code,

   Title 26) as amended from time to time.

           Section 4. Collective Bargaining Agreement. "Collective Bargaining Agreement" means a

   written labor contract or other written agreement between the Union and an Employer or the

  Association which requires contributions to this Fund in a manoer acceptable to the Trustees

  together with any modifications, supplements or amendments thereto.           The term also includes a

  written agreement between the United Association or a local or state labor organization and

  Employers or an Employer association or a signed participation agreement between the Fund and an

  Employer or Employer association which requires contributions to this Fund in a manoer acceptable

  to the Trustees.

          Section 5. Employee. "Employee" means those employees who are employed by any

  Employer as defined in Article I, Section 4, and on whose behalf contributions are required to be

  made to the Fund pursuant to a Collective Bargaining Agreement and such other persons as the

  Trustees determine to be employees under the Plan of Benefits. The Trustees have the authority to

  adopt rules covering eligibility, termination of eligibility, reinstatement of eligibility, reporting and


  109070-1                                            2
Case 1:17-cv-00245-DLI-VMS            Document 16-9         Filed 09/28/17      Page 4 of 31 PageID
                                            #: 278




           Section 6. Employer. "Employer" means:

          a.        An employer which is a member of or is represented in collective bargaining by the

   Association and which is bound by a Collective Bargaining Agreement providing for payments to

   the Fund including payments with respect to employees represented by the Union or with respect to

   other employees of the employer approved by the Trustees, or which is otherwise required to make

   such payments.

          b.        An employer which is not a member of or represented in collective bargaining by

   the Association but which has executed a Collective Bargaining Agreement providing for payments

  to the Fund including payments with respect to employees represented by the Union or with respect

  to other employees of the employer approved by the Trustees, or which is otherwise required to

  make such payments.

          c.     An employer that is bound by an agreement with the United Association to make

  payments into the Fund for work performed within the territorial or trade jurisdiction of the Union.

          d.     The Union, for the purpose of making payments into the Fund as the employer ofthe

  employees of the Union for whom the Union agrees to contribute to the Fund in accordance with the

  rules adopted by the Trustees.

          e.     A state or local labor organization, for the purpose of making payments into the

  Fund as th\l employer of the employees of such labor organizations who were previously

 · participants in this Fund for which such labor organizations agree to contribute to the Fund in

  accordance with the rules adopted by the Trustees.




  109070-1                                          3
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Case 1:17-cv-00245-DLI-VMS           Document 16-9          Filed 09/28/17       Page 5 of 31 PageID
                                           #: 279




           f.     This Fund or other trust funds to which the Union is a party, and the Plumbing

   Industry Board as the administrative office of the Local 1 Funds, for the purpose of making

   payments into this Fund as the employer of employees of such trust funds for which such trust funds

   agree to contribute to this Fund in accordance with the rules adopted by the Trustees.
                                                                                                         I
           g.     The Association, for the purpose of making payments into the Fund as the employer      I
   of employees of the Association for which the Association agrees to contribute to the Fund in
                                                                                                         I

   accordance with the rules adopted by the Trustees.

          Provided, however, that the foregoing reference to the Union, or state or local labor          I
   organizations, the Plumbing Industry Board and trust funds as "Employers" will not convey to these

   organizations any right or privilege granted by this Trust Agreement to Employers who are

  .contractors.

          Section 7.    ERISA. "ERISA" means the Employee Retirement income Security Act of
   1974, any amendments as may from time to time be made and any regulations promulgated

  pursuant to the provisions ofERISA

          Section 8. J!i.m.Q. "Fund" means the trust fund provided for in this Trust Agreement, and      l
  means generally the monies, investments, insurance policies and other things of value which            I
  comprise the corpus, income and additions to the Fund.

          Section 9. Plan of Benefits. "Plan of Benefits" means the program of benefits established

  by the Board of Trustees pursuant to this Trust Agreement and as subsequently amended by the

  Trustees.

          Section 10, Trust Agreement.       "Trust Agreement" means this document including any

  amendments, supplements and modifications made pursuant hereto.

          Section 11.    Trustees.   "Trustees" means the Trustees designated and appointed in

  accordance with the terms ofthis Trust Agreement.


  109070-1                                          4
Case 1:17-cv-00245-DLI-VMS           Document 16-9         Filed 09/28/17       Page 6 of 31 PageID
                                           #: 280




           Section 12.    Union.    "Union" means Local Union No. 1 affiliated with the United

    Association of Journeymen and Apprentices ofthe Plumbing and Pipe Fitting Industry of the United

    States and Canada, AFL-CIO.

           Section 13. United Association. "Uniteq Association" means the United Association of

   Journeymen and Apprentices of the Plumbing and Pipe Fitting Industry of the United States and

   Canada, AFL-CIO.

                                          ARTICLE IT
                                   CONTINUATION OF THE FUND

           Section 1. Continuation of the Fund. This Agreement continues a Fund known as the

   Plumbers Local Union No. 1 40l(k) Savings Fund.

           Section 2. Pw:pose of Fund. :rhe Fund continued by this Trust Agreement is for the

   exclusive purposes of providing retirement benefits for its participants and their beneficiaries and

   defraying reasonable expenses of administering the Fund in accordance with this Trust Agreement,

   the Plan of Benefits and ERISA It is a multi-employer plan as that term is defined in Section 3(37)

   of ERISA

          Section 3. Irrevocable Pw;pose. The Fund continued by this Trust Agreement is an

   irrevocable trust established for the exclusive benefit of employees, in accordance with Section

   302(c) of the Labor-Management Relations Act of 1947, as amended by Public Law 86-257, 1959,

   and in accordance with ERISA.

          Section 4. Composition of Fund. The assets of this Fund consist of (I) the sums of money

  that have been or will be paid or which are due and owing to the Fund by the Employers as required

  by Collective Bargaining Agreements; (2) the sums of money that have been or may be paid to the

  Fund by Employees, including payments directly as a self-payment at the election of the Employee;

 · (3) all investments made therewith, tbe proceeds thereof and tbe income therefrom; (4) all policies

  of insurance including dividends, interest, refunds, or other sums payable to the Trustees on account


  109070-1                                          5
     Case 1:17-cv-00245-DLI-VMS             Document 16-9         Filed 09/28/17       Page 7 of 31 PageID
                                                  #: 281




        of said policies; (5) all other contributions and payments to or due and owing to the Trustees from

        any source to the extent permitted by law; and (6) supplies, property and other assets used by the

        Trustees in the administration of the Fund.

                                                    ARTICLEffi
                                                 BOARD OF TRUSTEES

                Section 1. Board of Trustees. The operation and administration of the Fund will be the

        responsibility of a Board of Trustees, composed of eight (8) Trustees, four (4) of whom will be

        Employer Trustees, designated and appointed by the Association, and four (4) of whom will be

        Union Trustees, designated and appointed by the Union.

                There may also be up to eight (8) alternate Trustees. Up to four (4) of the alternate Trustees -' ·

        may be appointed by the Union and up to four (4) of the Alternate Trustees may be appointed by the

       Association. The Alternate Trustees shall serve in the place of any of the Trustees who are unable

       to attend a regnlar or special meeting of the Trustees or who are temporarily incapacitated from

<-     serving. At or before a meeting, the Union and the Association may designate one or more of the

       Alternate Trustees to serve in the place, of any absent Union or Association Trustees respectively.

               The composition of the Board of Trustees may be changed at any time by majority vote of

       the Trustees.

               Section 2. Acceptance of Trusteeship. Each Trustee and Alternate Trustee will sign a

       written acceptance and thereby will accept the Trust established by this Trust Agreement, will

       consent to act as Trustee and will agree to administer the Fund as provided in this Trust Agreement.

       The written acceptance will be in a form satisfactory to the Trustees and consistent with ERISA and

       will be filed at the office ofthe Fund.

               Section 3. A.llpointment and Removal of Trustees. Trustees representing the Employers

       will be appointed by the Association from among the members of the Association who are

       Employers or officers of Employers. Any Employer Trustee may be removed from office at any



       109070-1                                           6
Case 1:17-cv-00245-DLI-VMS            Document 16-9          Filed 09/28/17       Page 8 of 31 PageID
                                            #: 282




   time for any reason by the Association. Trustees representing the Union will be appointed by the

   Union from among the officers of the Union. A Union Trustee may be removed from office at any

   time, for any reason, by the Union. Any such appointment or termination will be effective as stated

   in a written notice which will be given to the remaining Trustees.

           Section 4. Name. The Trustees will conduct the business of the Fund and execute all

   documents in the name of the Plumbers Local Union No. 1 40l(k) Savings Fund.

           Section 5. Resignation and Rtlplacement of Trustees. A Trustee may resign and become

   and remain fully discharged from all further duty or responsibility under this Trust Agreement by

   giving thirty (30) days' written notice of such resignation to the Co-Chairmen of the Board of

   Trustees, or such notice as the remaining Trustees may accept as sufficient. The notice will state the

   date on which the resignation will take effect and the resignation will take effect on the date stated

  in the notice unless a successor Trustee is appointed at an earlier date, in yvhich event the resignation

  will titk:e effect immediately upon the appointment of the successor Trustee.

          In the event of the resignation, death, incapacity or the unwillingness of any of the Trustees

  to serve, a successor Trustee will be designated by the Union or Association, as applicable, in

  accordance with this Trust Agreement. The remaining Trustees will be notified of such designation

  in writing.

          Any successor Trustee designated as provided in this Trust Agreement will sign an

  acceptance of this Trust Agreement as provided in Section 2 of this Article, and will thereby
                                                                                                              I
  become vested with all the rights, powers, discretion and duties of his predecessor Trustee.                I
          Any retiring or terminated Trustee will promptly turn over to the remaining Trustees at the

  office of the Fund any and all records, books, documents, monies and other property in his

  possession which are a part of the Fund and related to the fulfillment of the Trustees' duties and

  responsibilities under this Trust Agreement.




  109070-1                                           7
Case 1:17-cv-00245-DLI-VMS             Document 16-9        Filed 09/28/17       Page 9 of 31 PageID
                                             #: 283




           The powers of the Trustees to act, as provided in this Trust Agreement, will not be impaired

   or limited in any way pending the designation of a successor Trustee to fill any vacancy.

           Section 6. Term of Trustees. A Trustee will continue to serve until his death, incapacity,

   resignation, removal, or expiration of his term as established by the Union or Association, as

   applicable, designating the Trustee.

          Section 7. Payment of Trustees. The Trustees may not receive compensation for the

   performance of their duties but may be reimbursed, in accordance with ERISA, for any reasonable

   and necessary expense which they may incur in the performance of their duties.

                                        ARTICLE IV
                          MEETINGS AND DECISIONS OF THE TRUS1EES

          Section 1. Officers of the Trustees. The Union Trustees and the Employer Tmstees shall

  each respectively designate from amongst themselves a Co-Chairman who shall serve until the

  designation of his successor.

          Section 2. Meetings of the Tmstees. Regular meetings of the Trustees will be held at such

  times and places as determined by the Co-Chairmen. At or before a meeting, the Union and the

  Association may designate an alternate Co-Chairman to serve in the place of a Co-chairman. An

  alternate Co-Chairman has all the privileges of a Co-Chairman. Reasonable notice of the

  meetings will be provided, except that meetings may be held at any time without notice if all the

  Trustees consent thereto in writing. Special meetings may be called by either Co-Chairman upon

  three (3) days' written notice. The Tmstees will meet at least once each year and at such other times

  as they find it necessary to conduct their business.

          Section 3. Ouomm. In any meeting of the Trustees, fuur (4) Trustees, consisting of at least

  two (2) Union Trustees and at_ least two (2) Employer Trustees, will constitute a quomm for the




  109070-1                                           8
Case 1:17-cv-00245-DLI-VMS            Document 16-9          Filed 09/28/17        Page 10 of 31 PageID
                                             #: 284




    conduct of business. At all meetings, the Employer and Union Trustees will have equal voting

    strength.

            Section 4. M!ijority Yote of Trustees. Except as provided in Section 6 below, all action by

    the Trustees will be by majority decision of the Union Trustees present and voting and the majority

    decision of the Employer Trustees present and voting.             This requirement for a decision by a

   majority of both Union and Employer Trustees voting will apply not only to this Article but to any

   portion of this Trust Agreement which refers to action by the Trustees.
                                                                 .         If any matter
                                                                                    .    presented to

   the Trustees for a decision cannot be decided because there is no quorum at two successive regular

   or special meetings, or because of a tie vote at any meeting, the matter may be submitted to              I"
                                                                                                             I

   arbitration, as set forth in Article IX of this Trust Agreement.

           Section 5. Minutes of Meetings. The Trustees or someone designated by them will keep

   minutes of all meetings. The minutes need not be verbatim. Copies of the minutes will be sent to all

   the Trustees and to other persons as the Trustees may direct. Minutes of a meeting will be reviewed

   and approved by the Trustees at the next meeting.

           Section 6. Action of Trustees Without Meeting. The Trustees may also take action without

   a meeting, in writing or by telephone conference call, provided that, in such cases, there must be

   unanimous agreement of all Trustees.

                                          ARTICIEV
                                 POWERS AND DUTIES OF TRUSTEES

           Section I. Conduct of Trust Business. The Trustees shall have authority to control and            I
                                                                                                             I


   manage the operation and administration of the Fund and shall conduct the business and

   activities of the Fund in accordance with this Trust Agreement and applicable law. The Trustees

   shall hold, manage and . protect the Trust Fund and collect the income therefrom and

   contributions thereto. Except as provided in this Trust Agreement or as determined by the


   109070-1                                           9
Case 1:17-cv-00245-DLI-VMS             Document 16-9          Filed 09/28/17        Page 11 of 31 PageID
                                              #: 285




    Trustees, all actions taken by the Trustees that are fiduciary or would otherwise by considered

    settlor actions shall be considered fiduciary actions within the meaning of the Act. The Trustees

   shall be the Named Fiduciary and the Administrator of the Legal Services Fund as those terms

    are defined in the Act.



           Section 2. Use of the Fund for Expenses and to Provide Benefits.

           (a)     The Trustees have the power and authority to use and apply the Fund to pay or

   provide for the payment of all reasonable and necessary expenses (i) to collect Employer

   contributions and payments and other monies and property to which they may be entitled and (ii) to·

   administer this Fund, including the purchase or lease of premises, material, supplies and equipment,

   (iii) to obtain such legal, actuarial, consulting, investment, administrative, accounting, clerical and

   other services as they determine to be necessary or appropriate, and (iv) to perform such other acts

   as the Trustees, in ~heir sole discretion, find necessary or appropriate to perform their duties.

           (b)     The Trustees have the power and authority to use and apply the Fund to provide for

   retirement benefits to eligible Employees and Beneficiaries in accordance with the terms, provisions

   and conditions ofthe Plan of Benefits adopted by the Trustees pursuant to this Trust Agreement.

           Section 3. Construction and Determinations by Trustees. Subject to the purposes of the

   Fund and the provisions of this Trust Agreement, the Trustees have full and exclusive discretionary

   authority to determine all questions of eligibility, amount of benefit, method of providing for

  benefits, and all other related matters. They have full discretionary power to interpret the provisions

  of this Trust Agreement and the Plan of Benefits, and the terms used in these documents and any

  rules and regulations issued in counection with these documents. Any such determination and any




  109070-1                                            10
                                                                                                             i
                                                                                                             II
Case 1:17-cv-00245-DLI-VMS             Document 16-9        Filed 09/28/17      Page 12 of 31 PageID
                                              #: 286




    such interpretation adopted by the Trustees in good faith will be binding upon the Union,               i
                                                                                                            I
   Association, Employers, Employees and their Beneficiaries.
                                                                                                            I!
           Section 4. General Powers. In addition to other powers set forth herein or conferred by law,

   the Trustees are hereby empowered to:
                                                                                                            I.
           (a)     demand, collect, receive and hold contributions and take any action which they may
                                                                                                            I
   find necessary or desirable to collect contributions due the Fund;

           (b)     compromise, settle, arbitrate and release claims or demands in favor of or against the

   Fund or the Trustees on such terms and conditions as the Trustees may determine to be advisable;
                                                                                                            I
                                                                                                            I
   commence .or defend any legal, equitable or administrative proceedings brought in connection with

   the Fund and represent the Fund in all such proceedings;

           (c)    pay or provide for the payment of all reasonable and necessary expenses of

   collecting contributions and payments;

          (d)     enter into any and all contracts and agreements for carrying out the terms of this

   Trust Agreement and the administration of the Fund;

          (e)     enter into an investment contract or agreement with one or more insurance

   companies for the investment and reinvestment of assets of the Fund;

          (f)     invest, reinvest and have invested and reinvested assets of this Fund, without

  distinction between principal and income, in any type of investment the Trustees determine to be

  prudent. There is no limitation restricting investments in common stock to a percentage of the Fund

  or to a percentage of the total market value of the Fund. The Trustees have the authority, with

  respect to any stocks, bonds or other real or personal property which they hold as Trustees, to

  exercise all the rights, powers and privileges which might be lawfully exercised by a person owning

  similar property in his own right;



  109070-1                                          11
Case 1:17-cv-00245-DLI-VMS             Document 16-9           Filed 09/28/17        Page 13 of 31 PageID
                                              #: 287




          · (g)     register securities or other Fund property in the name of the Fund or of the Trustees,

    or in the names of one or more nominees ofthe.Trustees and to hold instruments in bearer form;

            (h)     enter into and terminate agency or custody agreements with a bank, trust company

    or oilier custodian chosen by them, under which agreements the Trustees may turn over to such

    bank, trust company or other custodian all or a portion of the funds held by them in this Fund for

    safekeeping, investment or reinvestment, on such terms as the Trustees determine to be advisable;

            (i)     invest the assets of the Fund in a common, collective, or commingled trust fund, to

    the extent permitted by ERISA and other applicable law. To the extent monies or other assets are

.. .. transferred to a collective trust in exchange for an interest in the collective trust, the terms and

   conditions of the collective trust alone will govern the investment duties, responsibilities and powers

   of the trustees. of the collective trust, and to the extent required by law, those terms, resporisibilities,

   and powers will be incorporated herein by reference and will be part of this Trust Agreement;

           G)      sell, exchange, lease, convey, mortgage or dispose of any real or personal property,

  .'Which is at any time a part ofthe Fund, on terms which the Trustees determine to be proper, and to

   execute and deliver any and all instruments of conveyance, lease, mortgage or transfer in connection

   therewith;

           (k)      pay or provide for the payment of all real and personal property taxes, income taxes

   and other taxes levied or assessed under applicable law upon or with respect to the Fund or any

   money, property, or securities forming a part of the Fund;

           (I)     retain such portion of the assets of the Fund in cash or cash equivalents as the

   Trustees may determine to be desirable, without any liability for interest on such assets;




   109070-1                                            12
Case 1:17-cv-00245-DLI-VMS            Document 16-9         Filed 09/28/17       Page 14 of 31 PageID
                                             #: 288




            (m)    establish and accumulate as part of the Fund such reasonable reserve funds as the

    Trustees, in their sole discretion, determine to be necessary or desirable to carry out the purposes of

    the Fund;

           (n)     allocate fiduciary responsibilities among the Trustees, or committees of the Trustees,

    delegate fiduciary duties to persons other than the Trustees, and delegate Trustee responsibilities to

    an investment manager as provided in this Trust Agreement and in accordance with the

   requirements ofERISA;

           {o)     appoint one or more investment managers, as that term is defined in ERISA, and

   enter into an agreement with such investmel).t managers, in accordance with the requirements of

   ERISA, delegating to the investment manager the responsibility to control and manage, acquire and

   dispose of all or a portion of the assets ofthe Fund which the Trustees may specify;

           (p)     enter into an agreement with an administrative manager or establish an arrangement

   in cooperation with related benefit funds to establish an administrative office or offices of the Fund

   :and of the Trustees under the direction of the Trustees or a committee of the Trustees. The

   administrative office will coordinate and administer the accounting, bookkeeping and clerical

   services, provide for the coordination of actuarial services furnished by the consulting actuary,

   prepare (in cooperation where appropriate with the consulting actuary and independent auditor) all

   reports and other documents to be prepared, filed or distributed by the Fund in accordance with law,

   assist in the collection of amounts due to the Fund by Employers and Employees and perform such            I

   other duties and furnish other services as may be assigned, delegated or directed or as may be             l
   contracted by or on behalf of the Trustees;




   109070-1                                          13
Case 1:17-cv-00245-DLI-VMS            Document 16-9           Filed 09/28/17      Page 15 of 31 PageID
                                             #: 289




            (q)     employ a qualified investment consultant to assist the Trustees in exercising their

    investment powers and authority by reviewing the investment· performance, the investment policy

    and the types and kinds of investments made by the Trustees and/or the investment manager(s);

            (r)    engage one or more independent certified public accountants, enrolled actuaries and ·

    qualified legal counsel to perform all services as may be required by applicable law and such other

    services as the Trustees may determine to be necessary;

           (s)     pay or provide for the payment from the Fund of all costs incurred in obtaining the

    services of professionals, consultants, managers and other providers or services to the Fund as the

    Trustees determine to be necessary and in accordance with this Trust Agreement and applicable. ·'·' . .

   law;

           (t)     designate an agent for service oflegal process fur the Fund;

           (u)     obtain policies of insurance, to the extent permitted by law, to insure the Trustees,

   the Fund, employees and agents of the Trustees and of the Fund or the administrative office while

   engaged in business and related activities for and on behalf of the Fund (i) with respect to liability as

   a result of acts, errors or omissions of the Trustees, employees or agents, and (ii) with respect to

   injuries or property damage. The cost of the premiums for such policies of insurance will be paid

   out of the Fund to the extent permitted by ERISA;

           (v)     enter into reciprocal agreements (on· such terms as the Trustees determine to be

   advisable) with trustees of other 40l(k) funds to permit Employees covered by this Fund to receive

   credit in this Fund when working outside the geographical and/or trade jurisdiction covered by

   Collective Bargaining Agreements, as defined in this Trust Agreement, and to receive from 401(k)

   funds contributions received on behalf of such Employees by the other funds; to disburse to 40l(k)




   109070-1                                          14                                                        I
Case 1:17-cv-00245-DLI-VMS             Document 16-9          Filed 09/28/17    Page 16 of 31 PageID
                                              #: 290




    funds contributions received on behalf of employees not normally covered under this Fund to permit
                                                                                                            I
    those employees to receive credit in such other 401(k) funds;
                                                                                                            I
            (w)    merge this Fund into or with another 401(k) fund or to accept the transfer of all or a

    portion of the assets of another 401 (k) fund in accordance with the provisions of ERISA;

            (x)     establish policies, rules and procedures which the Trustees determine to be necessary

    to accomplish the purposes of this Trust Agreement and which are not inconsistent with the terms of

    this Trust Agreement;

           (y)     exercise their discretionary anthority to make all determinations concerning initial

    and continuing participation of employees and employers in this Fund, eligibility, type, amount and

    duration ofbenefits;

           (z)     do any and all acts, whether or not expressly authorized in this Trust Agreement,

  · which the Trustees determine to be necessary to accomplish the general objective and purpose of

   providing retirement benefits to Employees.

           Section 5. Personal Liability. Except to the extent liability is imposed by ERISA,. no

   Trustee will be liable or responsible for his own acts or fur any acts or defaults of any other

   fiduciary or party in interest or any other person.

           The Trustees, to the extent permitted by applicable law, will not incur liability by acting on

   any document which they believe to be genuine and to contain a true statement of facts and, if

   applicable, to be signed by the proper person.

           Section 6. Reliance on Written Instruments and Professional Advice. Any Trustee, to the

   extent permitted by ERISA, may rely uwn any written document purporting to have been signed by

   a majority of the Trustees as conclusive evidence of the fact that a majority of the Trustees have

   taken the action stated to have been taken in such document.




   109070-1                                              15
Case 1:17-cv-00245-DLI-VMS             Document 16-9         Filed 09/28/17        Page 17 of 31 PageID
                                              #: 291




           The Trustees may, from time to time, consult with the Fund's legal counsel, actuary and any

   other professionals. To the extent permitted by ERISA, the Trustees will be protected iii actiilg upon    I
   the advice of such professionals.

           Section 7. Reliance by Others. No party dealing with the Trustees will be obligated to see

   that the funds or property of the Fund are applied to the stated pmposes of the Fund, to see that the
                                                                                                             I
   terms of this Trust Agreement have been complied with or to review the necessity of any act of the

   Trustees. A document executed by the Trustees will be conclusive evidence iii favor of any person

   relyiilg on such a document that at the time the document was executed, the Trust was iii full force

   and effect, that the document was executed iii accordance with the terms and conditions of this Trust

   Agreement, and that the Trustees were authorized and empowered to execute the document.

           Section 8. Books of Account. The Trustees or their agent will keep true and accurate books

   of account and records of all transactions of the Fund which will be open to the inspection of each

   of the Trustees at all times and which will be audited at least annually and at such other times as the

   Trustees determine it to be appropriate by a certified public accountant selected by the Trustees.

   Such audits will be available at all times for iilspection by the Association, Employers, the Union

   and the Employees or their Beneficiaries at the principal office of the Fund.

           Section 9. Surety Bonds. The Trustees and any agents or employees who are empowered

  and authorized to sign checks and handle monies of the Fund will be bonded by an authorized
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  surety company qualified to write such bonds. The Trustees may also bond such other agents or

  employees of the Fund as they determiite to be appropriate. The cost of the premiums of such
                                                                                                             :
  bonds will be paid out ofthe Fund. The bonds will be iii the amounts required by applicable law.

          Section 10. Execution ofDocuments. In the course of operating the Fund the Trustees will

  execute documents in the name of the Plumbers Local Union No. 1 401(k) Savings Fund.
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  109070-1                                           16
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Case 1:17-cv-00245-DLI-VMS            Document 16-9         Filed 09/28/17       Page 18 of 31 PageID
                                             #: 292




    Documents may be signed by the Co-Chairmen, or one or more Trustees authorized by resolution.

   Documents executed as provided above are binding on the Trustees and the Fund.

                                           ARTICLE VI
                                    CONTRIBUTIONS TO THE FUND

           Section I. Contributions Held in Trust. The Trustees will receive and hold payments,

   including but not limited to employer and employee contributions required by a Collective

   Bargaining Agreement, employee elective deferrals as provided for in this Trust Agreement and any

   other money or property which may be entrusted to them, as Trustees, with the powers and duties

   and for the uses and purposes set forth in this Trust Agreement. Neither the Union, the Association,

   the Employers, Employees, or Beneficiaries will have any right, title or interest in or to the Fund or

   any part ofthe Fund except as required by law.

           Section 2. Encumbrance of Benefits. The Plumbers Local Union No. 1. 401(k) S!!vings

   Fund is an irrevocable trust .for the sole and exclusive benefit of the Employees and their

   Beneficiaries who are entitled to benefits under the Plan of Benefits.

           All of the assets of the Fund will be free from the interference and control of any creditor of

   the Union, the Association, the Employers, Employees or Beneficiaries. No benefits     will be subject
   to assignment or other anticipation, nor subject to seizure or to sale under any legal, equitable or

   other process except as may be specifically permitted by the Trustees in accordance with applicable

   law. If any claim or benefit becomes or may become payable to any person other than the

  Employee or Beneficiary entitled to the benefit, the Trustees have the power to withhold payment of

  the benefit to the Employee or Beneficiary until the assignment, encumbrance, anticipation or other

  legal process is canceled or withdrawn in a manner satisfactory to the Trustees. Until so canceled or

  withdrawn, the Trustees have the power and discretion to use and apply the benefits directly for the
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  support and maintenance of the Employee or Beneficiary.


  109070-1                                           17
                                                                                                             I
Case 1:17-cv-00245-DLI-VMS            Document 16-9         Filed 09/28/17       Page 19 of 31 PageID
                                             #: 293




            The Employers' contributions and payments due and owing to the Fund are not and will not

    be considered wages due to Employees. The Fund will not be liable for or subject to tllii debts,

    contracts or liabilities of the Union, the Association, Employers, Employees or Beneficiaries.

           No Employee or Beneficiary has the right to receive any part of the assets of this Fund,

    except as provided by the Plan of Benefits.

           Section 3. Rate of Contributions. Each of the Employers will pay to tbe Trustees or to an

   agent designated by tbe Trustees the amount of money as established and provided for in Collective

   Bargaining Agreements. An Employer will also be obligated to pay the amounts established in such

   agreements following the expiration of a Collective Bargaining Agreement if the Employer is under

   a duty to pay such amounts pursuant to an obligation arising under the National Labor Relations

   Act. The obligations of each Employer under this Trust Agreement will be binding upon the

   Employers' successors and assigns to the extent provided by law.

           Section 4. Mode of Payment and Reports.           All payments required by the Collective

   Bargaining Agreements as defined in Article I, Section I will be paid to the Trustees in the manner .

   and form determined by the Trustees. The Employer will make all reports on contributions required

   by the Trustees in the performance of their duties under this Trust Agreement.

           The Trustees may, at any time, designate a qualified representative to conduct an audit of

   the payroll, wage and other records of any Employer to permit the Trustees to determine whether

   the Employer is making full payments to the Fund in the amounts required by the Collective

   Bargaining Agreement. Any data or information provided to the Trustees by an Employer or by the

  Union will be kept confidential and may not be disclosed by the Trustees to any third person, unless

  the Trustees decide that disclosure is necessary for the proper administration of the Fund.




  109070-1                                          18
Case 1:17-cv-00245-DLI-VMS            Document 16-9          Filed 09/28/17       Page 20 of 31 PageID
                                             #: 294




            Section 5. Presumptions Which Apply Where Records Are Not Sufficient. Employers

    bound to this Trust Agreement are required to .keep records that are sufficient to allow the Fund's

    representative and/or auditor to determine which Employee performed work for which contributions

    and/or payments were required to be made to the Fund by the Employer and how many hours of

    such work were performed. If the Fund's representative and/or auditor determines that the

    Employer's records are not sufficient for this purpose, it will be presumed that any individual who

    performed work for which contributions were required to be made to the Fund by the Employer

    during the period covered by the audit, spent his entire time performing such work. Therefore,

   unless other records are available to determine hours worked, a delinquency based on the work .

   performed by such a person will be calculated by dividing the person's total compensation from the

   Employer by the applicable wage rate under the Collective Bargaining Agreement and multiplying

   by the appropriate rate of contribution.

           Section 6.     Default in Payment.       Each Employer is responsible only for making

   ·contributions and payments that it is obligated to make on behalf of its Employees under its

   Collective Bargaining Agreement except as provided in this Trust Agreement. If an Employer does

   not pay any contribution or payment when due this will not relieve any other Employer of his

   obligation to make payments. Non-payment by one Employer of any contribution or payment when

   due· does not impose on any other Employer, the Association or the Union any obligation with

   respect to such payments.

           Regular, prompt and correct payment of amounts due by individual Employers to this Fund

   is essential for the maintenance of the Fund. It is extremely difficult, if not impossible, to establish

   the actual expense and damage to the Fund and to the benefit program provided by the Fund which

   will result from the failure of an individual Employer to make payments in full within the specified



   109070-1                                          19
Case 1:17-cv-00245-DLI-VMS             Document 16-9          Filed 09/28/17       Page 21 of 31 PageID
                                              #: 295




    time period established by the Trustees. Therefore, employer payments and the completed reporting

    forms are due by the twentieth (20th) business day following the end of each calendar month.

    Employee payments and completed reporting forms are due by the fifteenth (15th) business day

    following the end of each calendar month. If an Employer does not file a report or make

    contributions within ten (1 0) calendar days of the due date, the employer shall be considered

    delinquent. The Trustees may assess liquidated damages against any delinquent employer in the

    amount of twenty percent (20%) of the amount due if payment is not received by the due date.

   Any assessed liquidated damages may be added to and become a party of the amount due. The

   Trustees may also require any delinquent employer to pay interest at a rate up to 18% per annum,

   on the amount due from the date of delinquency until the date of payment. If an audit of an

   Employer's records discloses. contributions due to the Fund, the Employer will also be obligated to

  . pay the audit fee.

           The Trustees have the power to take any action necessary to enforce the payment of

   contributions and other amounts due, which may include filing or intervening in any legal, equitable

   or administrative proceedings.      All reasonable expenses incurred by the Fund to enforce the

   payment of amounts due, including but not limited to, reasonable attorneys' fees, accountants' or

   auditor's fees and court costs will be added to the amount owed by the delinquent Employer in

   addition to the amount of contributions and payments due and the liquidated damages and interest

   provided for above. The Trustees have the authority to settle or compromise any claim, suit, or

   legal action for less than full amount due or to waive amounts due or determine amounts due to be

   uncollectible when in the Trustees' discretion they determine it to be in the best interest of the Fund.

           The Trustees or a committee appointed by the Trustees have the discretion to adopt such

  rules and procedures concerning payments to the Fund, audits, liquidated damages and to enforce




  109070-1                                            20
Case 1:17-cv-00245-DLI-VMS           Document 16-9         Filed 09/28/17       Page 22 of 31 PageID
                                            #: 296




   the collection of delinquent contributions as they determine to be necessary. The Trustees may, in

   their discretion, require a bond or deposit as security for the prompt future payment of contributions

   and other amounts due to the Fund. The Trustees may, in their discretion, adopt special rules,

   including but not limited to, more frequent reporting and payment of contributions in the event an

   Employer has been repeatedly delinquent or based on the Employer's financial condition, if the

   Trustees determine that this is necessary to prevent or limit the size of a current or potential

   delinquency.

           Section 7. Projection of Delinquency. Where an Employer is two or more months

   delinquent in making the contributions required on behalf of his Employees .and has not submitted

   the required documents showing the Employees who worked for him and the hours worked, the

   Trustees may project as the amount ofthe delinquency the greater of(a) the average ofthe monthly         I
   payments or reports actually submitted by the Employer for the last three (3) months for which           I
   payments or reports were submitted or (b) the average of the monthly payments or reports submitted       I
   by the Employer fur the last twelve (12) months for which payments or reports were submitted.

   This projection of delinquency may be made in place of a demand for production of payroll

   documents, or if the Employer fails to provide such documents, in place of an audit. The projection

  may be used as a determination of payments due for each delinquent month, and may be used for

  purposes of any lawsuit, and no other proof need be provided by the Trustees to any court or

  arbitrator to compute the total payments due from the Employer for all delinquent months, exclusive

  ofliquidated damages, interest, attorneys' fees and costs set out in this Article. This provision does

  not, however, limit the Trustees from seeking a greater amount than the projected delinquency if a

  greater amount is shown to be owed by records or other evidence.




  109070-1                                         21
Case 1:17-cv-00245-DLI-VMS            Document 16-9           Filed 09/28/17    Page 23 of 31 PageID
                                             #: 297




                                              ARTICLE VII
                                           PLAN OF BENEFITS

            Section 1. Benefits. The Trustees have full discretion and authority to adopt a Plan of

   Benefits which includes the eligibility requirements, type, amount and duration of benefits that are

   to be provided equally and without discrimination to eligible Employees and Beneficiaries, based on

   what the Trustees determine to be within the fmancial limitations of the Fund. However, only

   medical, health, welfare, death, disability and related benefits, may be provided for under this Trust

   Agreement.

           Section 2. Eligibility Requirements for Benefits. The Trustees have full discretion and

   authority to determine the eligibility requirements for benefits provided by the Fund. They have full

   discretion and authority to adopt rules stating the eligibility requirements which will be binding on

   the Union, the Association, Employers, Employees, Beneficiaries and dependents and any other

   persons making claims.

           Section 3. Written Plan ofBenefits. The detailed basis on which payment ofbenefits is to         I

   be made pursuant to this Trust Agreement will be stated in the Plan of Benefits. The Plan of
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   Benefits may be changed or modified by the Trustees at any time as the Trustees, in their discretion,    l'
   determine is necessary based on the financial condition of the Fund, the needs of Employees and

   Beneficiaries and other related facts and circumstances. Any change or modification of the Plan of

   Benefits made by the Trustees will be stated in writing.

           Section 4. Govermnent Agency Approval. The Trust and the Plan of Benefits adopted by

   the Trustees will be strtictured and operated to continue to qualifY for approval by the Internal
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  Revenue Service as a tax exempt Trust and Plan to ensure that the Employer contributions to the

  Fund are proper deductions for income tax purposes. In addition, the Plan of Benefits adopted by

  the Trustees will be structured and operated to continue to qualifY for approval by any other agency
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  109070-1                                          22
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Case 1:17-cv-00245-DLI-VMS          Document 16-9         Filed 09/28/17      Page 24 of 31 PageID
                                           #: 298




    as may be required by applicable law. It is the intention of the Trustees to fully comply with all

    requirements of the Internal Revenue Code and ERISA.         The Trustees are authorized to file

   whatever applications and forms are necessary with the Internal Revenue Service or other agency to

   receive and maintain approval of the Trust and Plan ofBenefits.

           Section 5. Limitation of Employer's and Union's Obligations. Neither any Employer, nor

   the Association, nor the Union have any responsibility for the payment of any benefit under the Plan   I
   of Benefits. The obligation of each Employer under the Plan is a separate one and is limited to
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   paying into the Fund the contributions that the Employer is obligated to make on behalf of its own
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   Employees and other payments under the provisions of the applicable Collective Bargaining              I
   Agreement and under the provisions of this Trust Agreement.




   109070-1                                        23
Case 1:17-cv-00245-DLI-VMS              Document 16-9      Filed 09/28/17       Page 25 of 31 PageID
                                               #: 299




                                             ARTICLEVlli
                                      CONTROVERSIES AND DISPUTES                                            I
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           Section I. Reliance on Records. In connection with any controversy, claim, demand,

    lawsuit or other proceeding between the Union, the Association, any Employer, Employee,

    Beneficiary or any other person and the Trustees, the Trustees are entitled to rely to the extent

    permitted by ERISA, on any facts that appear in the records of the Trustees; any documents on file

   with the Trustees, with the Union or the Association or with the Employers; any facts certified to the

    Trustees by the Union the Association or an Employer; any facts which are in the public record and

   any other evidence pertinent to the issue involved.

           Section 2. Submission to Trustees. All questions or controversies of any type that arise in

   .any manner or between any persons in connection with the Fund or the operation of the Fund

   including, but not limited to, a claim for benefits by an Employee, Beneficiary or any other person,

   or concerning the interpretation of the language or meaning of the Plan of Benefits or this Trust

   .Agreement or the rules and procedures adopted by the Trustees, or concerning any decision,

   document or account in connection with the operation of the Fund or otherwise, will be submitted to

   the Trustees and the decision of the Trustees wlll be binding upon all persons dealing with the Fund

   or claiming benefits under the Fund. The Trustees shall not be required to submit any provisions of

   the Plan of Benefits to the grievance and arbitration procedures of a Collective Bargaining

   Agreement or be bound by any Stich proceeding.
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          Section 3. Settling Disputes. The Trustees may, in their sole discretion, compromise or           I

   settle any claim or controversy in the manner that they determine to be in the best interest of the

  Fund. Any decision made by the Trustees to compromise or settle a claim or controversy, or any

   compromise or settlement agreement entered into by the Trustees, will be final and binding on all

  parties interested in this Trust.


  109070-1                                          24
Case 1:17-cv-00245-DLI-VMS            Document 16-9         Filed 09/28/17      Page 26 of 31 PageID
                                             #: 300




           Section 4. Withholding Payment. If a question or dispute arises concerning the proper

   person or persons to whom a payment is to be rriade under the Plan of Benefits or this Trust, the

   Trustees may withhold the payment until there has been an adjudication of the question or dispute

   which is satisfactory to the Trustees in their sole judgment or until the Trustees have been fully

   protected against loss by an indemnification agreement or bond which the Trustees, in their sole

   judgment, determine is adequate.

                                              ARTICLEJX
                                             ARBITRATION

          Section 1. Application of this Article. If the Trustees cannot decide any matter, issue or

   dispute because there is no quorum at two (2) successive regular or special meetings of the Trustees,
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   or because there is a tie vote between the Employer Trustees and Union Trustees at any meeting,         i

   then, in either event, the Employer Trustees and the Union Trustees will attempt to agree upon the

   designation of an impartial umpire to decide the dispute.       n; within thirty (30) days after the
  .occurrence of either of the two events referred to above the Union Trustees and the Employer            I
   Trustees fail to agree upon the selection of an impartial arbitrator, then the Union Trustees or        I
  Employer Trustees may request the American Arbitration Association to submit a panel of five (5)

  arbitrators from which the disputing parties will choose one (1). The decision of the impartial

  arbitrator will be final and binding on all parties and persons concerned.

          Section 2, EJWenses of Arbitration. All reasonable and necessary costs and expenses in

  connection with the proceedings before the impartial arbitrator, including the fee, if any, of the

  impartial arbitrator and including attorneys' fees incurred by the Trustees in connection with the

  dispute which are mutually agreed upon by the Union Trustees and Employer Trustees, is a proper

  charge against the Fund and the Trustees are authorized and directed to pay such charges.


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  109070-1                                          25
Case 1:17-cv-00245-DLI-VMS            Document 16-9          Filed 09/28/17       Page 27 of 31 PageID
                                             #: 301




            Section 3. Status of Arbitrator. An impartial arbitrator or umpire agreed upon or appointed

    to decide any matter relating to the administration of the Fund or Plan of Benefits will be a fiduciary

    to the extent provided by ERISA or court or agency interpretations of ERISA.

                                           ARTICLE X
                                 EXECUTION OF 1RUST AGREEMENT

           Section 1. Countemarts.       This Trust Agreement may be executed in one or more

    counterparts. The signature of a person on any counterpart will be sufficient evidence of his

    execution of the Trust Agreement.

           Section 2. Written Instruments. Employers, as defined herein, may adopt and become a

   party to this Trust Agreement by signing a Collective Bargaining Agreement in which the Employer

   agrees to participate in the Fund under the terms of this Trust Agreement and the rules and

   procedures adopted by the Trustees.

                                        ARTICLE XI
                               AMENDMENT TO 1RUST AGREEMENT

           Section 1. Amendment by Trustees. The provisions of this Trust Agreement may be

   amended to any extent and at any time by a document in writing adopted by a majority of the Union

   Trustees and a majority of the Employer Trustees. It is expressly understood and agreed that no

   amendment will direct any of the trust assets then in the hands of the Trustees from the purposes          I

   and objects of the Fund.                                                                                   I
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           Section 2. Retroactive Effect. The Trustees have full power and discretion to establish the        I
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   effective date of any Amendment. Any Amendment may have retroactive effect if it is determined             I
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   to be necessary by the Trustees.
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   109070-1                                          26
Case 1:17-cv-00245-DLI-VMS             Document 16-9         Filed 09/28/17       Page 28 of 31 PageID
                                              #: 302




                                             ARTICLE XII
                                        1ERMINATION OF TR.UST

            Section 1. By the Trustees. This Trust Agreement may be terminated by a document in

   writing adopted a majority of the Union Trustees and a majority of the Employer Trustees if any

   one or more of the following events occur:

           (a)      if, in the opinion ofthe Trustees, the Fund is not adequate to carry out the intent and

   purpose of this Trust Agreement, or is not adequate to meet the payments due or which may become

   due under the Plan ofBenefits;
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           (b)      if there are no individuals living who can qualify as Employees or Beneficiaries
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   under this Trust Agreement;

           (c)     if Collective Bargaining Agreements reqniring contributions to the Fund are no

   longer. in force and effect.

           Section 2. Procedure on Termination. If this Trust Agreement is terminated, the Trustees

   will:

           (a)     provide for the payment out of the Fund of expenses incurred up to the date of

  termination of the Trust and the expenses in connection with the termination;

           (b)     arrange for a final audit and report of their transactions and accounts fur the purpose

  of terminating their Trusteeship;

           (c)     give any notice and prepare and file any reports which may be required by law; and

           (d)     apply the Fund in accordance with the provisions of the Plan of Benefits including

  amendments adopted as part of the termination until the Fund is disbursed.

           No part of the corpus or income of the Fund will be used fur or diverted to purposes other

  than for the exclusive benefit of the Employees and the Beneficiaries or the administrative expenses




  109070-1                                           27
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Case 1:17-cv-00245-DLI-VMS             Document 16-9         Filed 09/28/17      Page 29 of 31 PageID
                                              #: 303




    of the Fund. Under no circumstances will any portion of the Fund revert or inure to the benefit of

    any contributing Employer, the Association or the Union either directly or indirectly.

            Section 3. Notification of Termination. Upon termination of the Fund under this Article,
                                                                                                          I
                                                                                                         .I
   the Trustees will promptly notifY the Union, the Association, Employers, and all other interested      I

   parties. The Trustees will continue as Trustees for the purpose of winding up the affairs of the

   Fund.                                                                                                  I
                                              . ARTICLE XII                                               I
                                    MISCElLANEOUS PROVISIONS

           Section 1. Terminllf:ion of Individual Employers. An Employer will cease to be an

   Employer within the meaning of this Trust Agreement when he is no longer obligated, pursuant to a

   Collective Bargaining Agreement, to make contributions to this Fund.

           Section 2. Situs. The State of New York is the situs of the Fund established by this Trust

   Agreement. All questions pertaining to validity, construction and administration of this Fund will

   be.determined in accordance with the laws of the State ofNew York to the extent not preempted by

   the laws ofthe United States.
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           Section 3. Construction of Terms. Wherever any words are used in this Trust Agreement in

   the masculine gender, they will be interpreted and applied as though they are also used in the
                                                                                     \
   feminine or neuter gender, in all situations where this would apply. Wherever any words are used in

   this Trust Agreement in the singular form, they will be interpreted and applied as though they l!fe

   also used in the plural form in all situations where this would apply. Wherever any words are used

  in this Trust Agreement in the plural form, they will be interpreted and applied as though they are

   also used in the singular form in all situations where this would apply.

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  109070-1                                           28
Case 1:17-cv-00245-DLI-VMS            Document 16-9          Filed 09/28/17       Page 30 of 31 PageID
                                             #: 304




           Section 4. ~. Any notice required to be given to one or more of the Trustees pursuant

   to any provision of this Trust Agreement will be deemed to have been given if it is mailed to the

   Trustee or Trustees at the most recent address ofthe Trustee on file with the Fund.

           Section 5. Severability. If any provision in this Trust Agreement, the Plan of Benefits or

   rules and procedures adopted thereunder, or in any Collective Bargaining Agreement, is determined

   to be illegal or invalid for any reason, this determination will not affect other provisions contained in

   those documents, unless the determination concerning the illegal or invalid provision would make

   the functioning of the Fund or the Plan of Benefits impossible or impractical. In such case, the

   appropriate parties will promptly adopt a new provision to take the place of the illegal or invalid

   provision.

           Section 6. Refimd of Contributions. In no event, will any Employer, directly or indirectly,

   receive any refund of contributions made by him to the Fund except as provided in ERISA Under
                                                                                                               I
                                                                                                               I
   no circumstances will any portion of the Fund revert or inure to the benefit of any contributing            I
   Employer, the Association or the Union either directly or indirectly.

          Section 7. Article and Section Titles. The Article and Section titles are included solely for

   convenience and will not be interpreted to affect or modify any provision of this Trust Agreement or

   be interpreted as provisions of this Trust Agreement.

          Section 8. Benefits Payable from Fund Only.              Benefits provided for by this Trust

  Agreement and/or the Plan of Benefits are only payable to the extent there are assets in the Fund to

  pay such benefits. Neither the Trustees, nor the Union, the Association or Employers guarantee the

  payment of benefits, in the event the assets of the Fund are insufficient for this purpose.

          Section 9. Complete Agreement. The provisions of this Trust Agreement exclusively will

  define the powers, duties, rights and obligations of all persons who have a relation to the Trust,




  109070-1                                           29
Case 1:17-cv-00245-DLI-VMS          Document 16-9        Filed 09/28/17       Page 31 of 31 PageID
                                           #: 305




   except that the amount of the employer contributions will be provided for in Collective Bargaining

   Agreements.

           IN WITNESS WHEREOF, the undersigned have adopted and executed this document, as

   evidence of their acceptance of the Trust hereby established and their agreement to be bound by the

   Trust this   2 ~y of ()c{d:J&. 2003.
   PLUMBERS LOCAL UNIONNO.l                            ASSOCIATION OF CONTRACTING
                                                       PLUMBERS OF THE CITY OF NEW
                                                       YORK, INC.

   UNION TRUS1EES




  109070-1                                        30
